    

American Medical Resources Foundation

 

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a Assisting our less fortunate neighbors by donating medical equipment and supplies to hospitals and
one clinics in developing nations.
P. O. Box 3609, Brockton, MA 02304-3609
Tel: (508) 946-0026 C: (508) 930-1804
Website: www.amrf.com email: victor@amrf.com
April 27, 2018

Honorable John E. Steele
United States District Court
2110 First Street

Fort Myers, Florida 33901

Re: Patricia Hough
Dear Judge Steele:

Dr. Patricia Hough has been employed as the medical director of American Medical
Resources Foundation (AMRF) since August 1, 2017. AMRF is celebrating its thirtieth
anniversary as a global 501 C3 charity that has provided over 900 containers of
equipment and medical supplies to more than 90 developing countries. Dr. Hough has
been active with our organization since 2004. Her over 30 years of working for
international charities made her an ideal candidate for the changing mission and goals of
our organization.

Dr. Hough has been tasked with the evaluation and implementation of services to
hospitals and villages in Africa. Her vast knowledge of international resources has helped
link our organization with other NGO entities that provide humanitarian assistance.
Recently, we began raising funds for medical treatment for children with rare medical
conditions. Dr. Hough is working on a relationship between the AMRF, our African
affiliates, the Canadian Hospital for Sick Kids in Toronto and the Addenbrooke Abroad
program in the United Kingdom. Unfortunately, because of her legal status, she cannot
currently enter Canada and the United Kingdom; she would have to first be off
supervised release, and then apply for a waiver to be able to enter those countries. We
are confident that if Dr. Hough were off supervised release, with our support, Canada and
the United Kingdom would permit her entry.

My current medical problems do not allow me to travel internationally, so the burden of
travel for evaluation and development now fall on Dr. Hough and one of our biomedical
engineers. We are aware that Dr. Hough is applying, with the support from her probation
officer, for early termination of her probation status. For the above reasons, we humbly
request that you consider this letter in support of that application.

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